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                         IN THE UNITED ST ATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT Ol!~ PENNSYLVANIA


 AXEL GARCIA,
                      Plaintiff,                        CIVIL ACTION
        v.
                                                        No. 2:17-cv-01713



                                                                                                          I
 BRENNAN TREE SERVICE,

 and




                                                                                                          l
 SEAN BRENNAN,
                        Defendants.


                             JOINT PROPOSED CONSENT ORDER

        This Consent Order is entered into between Plaintiff Axel Garcia ("Plaintiff') and Sean

 Brennan and BreIUlan Tree Service (collectively "Defendants").

        1.        On April 18, 2017, Plaintiff filed a complaint alleging violations of the federal

Fair Labor Standards Act, 29 U.S.C. § 207 (the "FLSA") and the Pennsylvania Minimum Wage

Act, 43 P.S. § 333.104(c).

       2.       Both Parties have confened and have reached amicable resolution in the above-

captioned case.

       3.         There is jruisp1udence that confoms that there can be no private waivers or

agreements to waive FLSA minimum wage or overtime entitlement(s). See Brooklyn Savings

Bankv. O'Neal, 324 U.S. 697 (1945); D.A. Schulte, Inc. v. Gangi, 328 U.S. 108 (1946).
                                                                                                      Ii
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       4.       In Gangi, the United States Supreme Court indicated, in dicta, that there is a

distinction between an unsupervised agreement and a stipulated judgment.
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       5.       Following Gangi, comts have held that if an employee brings an action for back        l
wages under the FLSA, the court may enter a stipulated consent judgment with the consent of the
                                                                                                      I
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 Pru.ties. See e.g. Barron v. Interactive Clinical Technologies, Inc., 04-CV-03938, E.D. P.A.

 (wherein the Honorable Anita B. Brody, U.S.D.J. entered a stipulated consent judgment to

 resolve an ove1time claim); see also Opielski v. The Kamson Corporation, dlb/a Grandview

Apartments, 08-CV-627 (wherein the Honorable Berle M. Schiller, U.S.D.J. entered a stipulated

 consent judgment); Lynn's Food Stores v. United States, 679 F.2d 1350, 1353 (11 1h Cir. 1982)

 (federal district court stipulated judgment) (citing Jarrad v. Southeastern Shipbuilding Corp.,

 163 F.2d 960, 961 (5 1h Cir. 1947)).

        6.      Accordingly, there are only two (2) ways that FLSA rights can be compromised

and waived: (1) through a United States Department of Labor supervised settlement; or (2)

pursuant to a Consent Order approved and entered by a court of competent jurisdiction.

        7.      Plaintiff alleges he worked for Defendants in July 2016.

        8.      Defendant disputes both liability and the calculation of damages assuming

liability exists. Defendant agrees to resolve this dispute in patt for Plaintiff's release and waiver

of any and all claims related to minimum wage, overtime or other wage payments against

Defendants. Plaintiff agrees that valid consideration exists for Plaintiff's release and waiver of

such claims.

        9.      Defendant has offered Plaintiff valuable consideration to settle bis claims and as

consideration for Plaintiffs release and waiver of claims, a sum that includes alleged unpaid

wages and a component for Plaintiff's attorney's fees.        Plaintiff has accepted this offer of

settlement, and both Parties find the settlement to be reasonable. Defendant and Plaintiff have

fully executed a settlement agreement as evidence of their agreement of same.

       10.     Defendant denies any violation of the FLSA or the Pennsylvania Minimum Wage

Act and do not admit liability under any state or federal statute. Neither Defendants' agreement



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 to the tenns of this Consent Order nor any other action taken in co.rmection with this Consent

 Order constitutes any admission by Defendants of any violation of law, duty or obligation.

        11.      Plaintiff and Defendants agree that, in order to conserve time and expense,

 Plaintiffs claims should be resolved without fut1her litigation.        Therefore, Plaintiff and

 Defendant have waived an adjudication on the merits and have consented to the entry of this
                                                                                                         ~
 Order, subject to Com1 approval as provided herein.

        HAVING CONSIDERED THE PARTIES REPRESENTATIONS AS SET FORTH                                   II
 ABOVE, IT IS HEREBY ORDERED, ADJUDGED AND DECREED THAT:                                             I
        12.     The Pa11ies stipulate and the Comi finds that the Comt has jurisdiction over the     I
claims in tlris action.

        13.     Plaintiff and Defendants have executed a settlement agreement and release
                                                                                                     ~
releasing, among other claims, all claims by Plaintiff against Defendants related to the payment

of wages.

        14.     The Court has reviewed the tenns of the agreement reached by the Parties to settle
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Plaintiffs FLSA claims and his corresponding Pe11nsylvania Minimum Wage Act claims and
                                                                                                     Ii
finds that it provides a fair, just and reasonable resolution of such claims as asserted in the
                                                                                                     I
Complaint.

       15.      The Pmties to this Consent Order shall endeavor in good faith to resolve

informally any difference regarding interpretation of and compliance with this Order, prior to
                                                                                                     lI
bringing such matters to the Court for resolution.

       16.     This Consent Order and attached Negotiated Settlement Agreement and Release

set forth the entire Agreement between the Plaintiff and Defendants.




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    ON BEHALF OF PLAINTIFF                            ON BEHALF OF DEFENDANTS
    Community Legal Svcs. Of Philadelphia             Dion & Goldberger
    1424 Chestnut Street                              1845 Walnut Street, Suite 1199
    P~:~delphia, PA 19,/)05                           Phi~adelia, P. ~)-91p3
                                                              1



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By:&./~---
                                                           /j
                                                By:     , {,....__/ ~.      ~)
                                                      Samuel A. Dion

Dated: December 13_, 2017                       Dated: December r1>, 2017




Dated:   ~1<;1 ?()I 7




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                                                                                                           I  ~
                                                                                                               ii




                                                                                                          If:
                                                                                                              'I
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                       SETTLEMENT AGREEMENT AND RELEASE
                                                                                                          !'
                                                                                                          Ji
       THIS SETTLEMENT AGREEMENT AND RELEASE ("Agreement") is entered into                                l
thisJ3__   day of I\ece VV\    bt/v-        ,
                                            2017, by and between Sean Brennan and Brennan                 I
                                                                                                          i
Tree Service (hereinafter "defendants") and Axel Garcia ("Garcia"), (collectively, the "Parties").        I
                                                                                                      I   1.
       WHEREAS, Garcia, through his counsel, brought lawsuit against defendants before in                 P.
                                                                                                          n
the United States District Court for the Eastern District of Pennsylvania, docketed as No. l 7-cv-        Ii
1713 (the "lawsuit") claiming that he was owed minimum wage and overtime pay pmsuant to the           I
Fair Labor Standards Act and other laws;                                                              I   ~


        WHEREAS, Defendants has denied and continues to deny each and every claim and                  fi
allegation made by Garcia, including, but not limited to those in the lawsuit, and by entering into   IIi
                                                                                                      q
this Agreement makes no admission of wrongdoing or liability; and
                                                                                                      t!
        WHEREAS, the Parties desire to resolve fully and finally any and all disputes. including      I   I


but not limited to those in the lawsuit, in an amicable manner without the difficulties and           "
expenses involved in litigation;                                                                      I"
                                                                                                      n
                                                                                                      ~
        NOW, THEREFORE, the Parties, intending to be legally bound and for good and                   i~
sufficient consideration agree as follows:
                                                                                                      ~
                                                                                                      [
       1.      Consideration.

              (a)     In exchange for Garcia's promises and releases as set forth in this
       Agreement, defendants will pay or cause to be paid to Garcia a gross settlement amount
       of FIVE THOUSAND DOLLARS AND ZERO CENTS ($5,000.00), payable in two (2)
       checks as follows (collectively deemed the "Gross Settlement Payment"):

                       (i)    A settlement check, made payable to Garcia in the
                              amount of Three Thousand Five Hund1·ed Dollars
                              and Zero Cents ($3,500.00) (payment of this
                              amount will be reflected in an IRS Form 1099); and

                      (ii)    A settlement check, made payable to Garcia's
                              counsel, "Community Legal Services, Inc."
                              ("Garcia's Counsel"), in the amount of One
                              Thousand Five Hundred Dollars and Zero Cents
                              ($1,500.00), for attorney's fees and costs (payment
                              of this amount will be reflected in lRS Form 1099
                              to payee Community Legal Services, Inc.).

               (b)   In exchange for the consideration set forth herein, Garcia agrees that he
      will not seek re~employment with defehdants or the Releasees in the future.

              (c)    Garcia agrees that he has been given the opportunity to receive
       independent legal advice regarding his tax obligations with regard to the Gross
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   Settlement Payment and has not relied on any representations of Releasees or their
   counsel on the subject. Garcia hereby agrees to indemnify Releasees for any tax liability
   or consequences that result Plaintiffs failure to properly report the correct amount of
   income and/or employment taxes from the payments made pursuant to this agreement,
   including reasonable attorneys' fees.

         (d)     The sum referred to in paragraph I (a) shall be paid within thirty (30) days
  following the United States District Court for the Eastern District of Pennsylvania's (the
  "Court") entry of a Consent Order approving this settlement and waiver of claims provided
  counsel for Defendants receives the Agreement signed by Plaintiff, and IRS Forms W-9
  properly completed by Plaintiff and Plaintiffs counsel.

             (e)   Garcia agrees that this Agreement resolves any claims he has asserted or
  may assert against defendants or Releasees. Garcia agrees not to voluntarily participate
  in, induce, aid or abet any claims (except as expressly set tc>1th below in Paragraph 3(c))
  against Releasees based on any event which took place prior to the signing of this
  Agreement, provided, however, that he is not prevented from testifying in any cause of
  action when required to do so by process of law. Garcia affirms that there are no
  currently pending claims by him against Releasees other than the lawsuit. Tn the event
  that there are any other outstanding claims, Garcia agrees to seek their immediate
  withdrawal and dismissal with prejudice.

  2.      No Consideration Absent Execution of this Agreement. Garcia understands
  and agrees that he would not receive the benefits specified in Paragraph 1 above, except
  for his execution of this Agreement and the fulfillment of the promises contained herein.

  3.      Release of Claims for Wages and Other Compensation.

           (a)    Garcia knowingly and voluntarily releases and forever discharges
  defendants, its heirs, parents, affiliates, subsidiaries, divisions, their predecessor
  companies, their respective successors and assigns, and the current and former
  employees, attorneys, direct and indirect shareholders, members, limited partners,
  owners, officers, insurers and their respective officers, employees, directors and agents
  thereof (collectively referred to throughout this Agreement as "Releasees"), of and from
  any and all claims, demands, liabilities, obligations, promises, controversies, damages,
  rights, actions and causes of action, known and unknown, which Garcia has or may have
  against Releasees as of the date of execution of this Agreement, examples include, but are
  not limited to, any alleged violation of:

         •         The Fair Labor Standards Act;
         •         The Equal Pay Act;
         •         All other Federal Wage Statutes;
         •         Pennsylvania Wage Payment and Collection Law;
         •         Pennsylvania Minimum Wage Act of 1968;
         •         Pennsylvania Prevailing Wage Act;
         •         All other Pennsylvania Wage Statutes;
         o         California .Wage and Hour Laws;

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                •       All other California Wage Payment Statutes;
                •       California Prevailing Wage Laws;
                •       All other applicable Wage enforcement Jaws from any other state,
                        municipality or government;                                                               I
                •       All Contractual Claims regarding payment of wages or other                                I
                        compensation; and                                                                         '~'
                •       All other claims at law or in equity to enforce wages or other
                        compensation.
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        All of the above collectively referred to as "Claims." This is not intended to be a general             tl
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                                                                                                                Ii
        release by Garcia of all claims against Releasees not mentioned herein.

                (b)    Notwithstanding the foregoing, the release set forth in Paragraph 3(a) is
        not intended to cover and does not release any claims that cannot be released by law.
                                                                                                           I i:
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                 (c)    Notwithstanding anything in this Agreement to the contrary, the release
        set forth in Paragraph 3(a) does not and is not intended to prevent, restrict, or otherwise
                                                                                                           I'
                                                                                                           fi
        interfere with Garcia's right to: (i) file a charge or complaint with any appropriate              I!
        federal, state or local agency or court; (ii) testify, assist, participate in, or cooperate with   I~
        the investigation of any charge or complaint pending before or being investigated by such          Ii1,
        agency or court; or (iii) enforce this Agreement.

               (d)     Jf an administrative agency or court assumes jurisdiction over any charge
        or complaint involving claims that are released by Paragraph 3(a) of this Agreement,
                                                                                                           I
                                                                                                           I
                                                                                                           'i
        Garcia hereby agrees to not, directly or indirectly, accept, recover or receive any resulting
        monetary damages or other equitable relief that otherwise would be due and Garcia
        hereby expressly waives any rights to any such recovery or relief.
                                                                                                           I
       4.     Non-Solicitation. Garcia agrees not to solicit other individuals to file a lawsuit or        I
make a claim against the Company for unpaid wages or compensation.

         5.     Non-Disparagement. The parties agree that, except as compelled by process of
law, they shall not, in writing or orally, or through conduct, disparage, deprecate, discredit, vilify
or otherwise say anything negative about other parties to this Agreement or Releasees. These
prohibitions include, without limitation, any such statements made through use of social media
sites, such as Facebook or Twitter. Tf any such statements are in existence at the time this
Agreement is entered into between the parties, such statements will be immediately removed
and/or deleted.

        6.    AntiMRetaliation Provision. Defendants agree that they will not report or threaten
to report Garcia to any govemment agency, including, but not limited to, Immigration and
Customs Enforcement, United States Citizenship and Immigration Services, or any other law
enforcement agency.

         7.    Governing Law and Interpretation. This Agreement shall be governed by and
construed in accordance with the laws of the Commonwealth of Pennsylvania without giving
effect to the principles of conflicts of law. The Parties hereby consent and submit to the

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jurisdiction of the United States District Court for the Eastern District of Pennsylvania or the
Court of Common Pleas of Bucks County, Pe1msylvania for the purposes of any claim, dispute,
or action arising out of or relating to this Agreement and hereby waives any defense of an
inconvenient forum or improper jurisdiction.

        8.   No Admission of Wrongdoing. The Parties agree that neither this Agreement nor
the furnishing of the consideration for this Release shall be deemed or construed at any time for
any purpose as an admission by Releasees, or evidence of any liability or improper conduct of
any kind.

        9.   Amendment. This Agreement may not be modified, altered or changed except in
writing and signed by both Parties wherein specific reference is made to this Agreement.

       10. Entire Agreement. No prior or contemporaneous oral or written agreements or
representations may be offered to alter the terms of this Agreement which represents the entire
agreement of the Parties with respect to the subject matter hereof.

       11. Signatures.      This Agreement may be ex:ecuted in counterparts, any such copy of
which to be deemed an original, but all of which together shall constitute the same instrument.

        12.   Assignment. Defendants have the right to assign this Agreement, but Garcia does
not. This Agreement inures to the benefit of the successors and assigns of defendants, who are
intended third party beneficiaries of this Agreement.

        13.   Breach.

                  (a)     It is understood and agreed that Releasees expressly rely upon the
promises, representations, and warranties made by Garcia in this Agreement: that any breach of
such promises, representations and warranties would constitute a material breach of this
Agreement; and that in the event of any such breach, Releasees shall be entitled to any and all of
the following relief: (i) the indemnification and hold hannless protection set forth in Paragraph
1 above; (ii) specific enforcement of all promises and undertakings made by Garcia hereunder;
(iii) all other relief and damages available at law or in equity; (iv) recovery of reasonable
attorneys' fees and costs by Releasees.

                  (b)     It is understood and agreed that Garcia expressly relies upon the promises,
representations, and warranties made by Releasees in this Agreement; that any breach of such
promises, representations and warranties would constitute a material breach of this Agreement;
and that in the event of any such breach, Garcia shall be entitled to any and all of the following
relief: (i) specific enforcement of all promises and undertakings made by Releasees heretmder;
(ii) all other relief and damages available at law or in equity; and (iii) recovery of reasonable
attorneys' fees and costs by Garcia.

     GARCIA AGREES THAT HE HAS BEEN REPRESENTED THROUGHOUT
THE SETTLEMENT PROCESS BY AN ATTORNEY AND IS HEREBY ADVISED TO
CONTINUE TO CONSULT WITH AN ATTORNEY OF HIS CHOICE PRIOR TO
EXECUTION OF THIS AGREEMENT.


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     HAVING ELECTED TO EXECUTE THIS AGREEMENT, TO FULFILL THE
PROMISES SET FORTH HEREIN, AND TO RECEIVE THEREBY THE
CONSIDERATION SET FORTH IN PARA GRAPH 1 ABOVE, GARCIA FREELY AND
KNOWINGLY, AND AFTER DUE CONSIDERATION, ENTERS INTO THIS
AGREEMENT INTENDING TO WAIVE, SETTLE AND RELEASE THE CHARGE
AND ALL OTHER RELEASABLE CLAIMS HE HAS OR MIGHT HAVE AGAINST                                  !(
RELEASEES.

       IN WITNESS WHEREOF, the Parties hereto knowingly and voluntarily executed this
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Ag1·eement as of the date set forth below:
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Date:    12 - /'5 ·-· J '7-                                                               Ifl
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Date:    l ( - \ \- \)                                                                    1:

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